FD-597 (Rev 8-11-94)

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UNITED STATES DEPARTMENT OF -JUSTICE
FEDERAL BUREAU OF INVESTIGATION
Receipt for Property Received/Returned/Released/Seized

rie e WOT {o-Z2409 23

On (date) [22 [262

item(s) listed below were:
Received From

[] Returned To

[_] Released To

(| Seized

(Name), Andrew Taake
(Street Address) LU | Avex (| Sf-
(City) Lduston “\e 1004

 

Description of Item(s): PIAD| SOP CHMIPACE KISS \ISA WIC ANB000844 ;
Ani ammo (I1Uhds); te Style Pistol Acw_predsion

EIN ¥ OD0UHE , TSAmmM'o 22 younds) Shot AUN ;

Spot Quin analy: HP ep 4N sCalli 5444, Beanie;

acre \-pad aN FAV LAGHKL 4 Metal whip -
ctor Ale Wea, Samsung Cell on one aN- EE
2. (2 0AUne Motoun hells: Ray spray’, BAB. mags x
WL. ae tumo CAT Wark Gots ; Brink Colored shitty,
Ali ans wl vies) mmo Gwin, 3 ,Slo|.225\ 2oaune
GUS NOSE + TAUyeS oF SFO Guid, Fares Yin Wns ,
oves of Fog (Mune SHOU SWolls jis oF PaMliGe,”

ail) Df -I2F, TAN of 2235 Hailel CAL Ohone Ss "ECC|ITS—
JACCIAOIS) BACLT Cellenone Iie BSAAS 20d 1Wlo2835}
vin \waecionn VAC, Gwen Walle Waar, “

 

 

 

 

 

 

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“Received By: ~3 f
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Received From:

 
 

 
